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‘WELLINGTON’

Orthopaedic & Sports Medicine

 

 

 

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April, 222020:

Ms, Chapin Elizabeth Scheumann, a ae °
Attomey at Law a

401 West Main Street, Suite 1600

Louisville, Kentucky 40202

Re: Woods v. Target

_ Dear Ms, Scheumann:

* Treceived your, comtespondence ¢ dated 1-6-20 regarding Larry
Woods v. Target Corporation, Included with our correspondence
_ were medical records regarding Mr. Woods and his treatment.
Listed below are the medical records which I have had the
opportunity to review. Following my review of these records I will
outline my opinions with respect to any injury Mr. Woods may
have sustained at the time of the subject injury.

The medical records include:

1. The Guest Incident Report regarding the reported event of 11-
27-17. The incident was reported to the store on 11-30-17. The
description describes that Mr. Woods said that he was walking
toward a door and slipped and caught himself on a freshness
packet from a box that had been on the floor. From this event he
said that he injured his right leg and his low back.

Robert Het, MD, 1925-3011 « Dale Pox, MD., 1909-1995 + Donald Prank, MD,, 1988-1902 © Michal Welch, MD. « Raward Miller W.P),, Krariius
Robert Heidt, Jt M.D. « Mark Snytier M.D. # James Plettoes MD. » Stephen Dailey, MD. # Kevin Reilly, MLD, # Denver Stanfield, M.D, « Arthur Lee, MLD.
Brad Wenstoyy, DPM. # Robert fhoad, M1) « Ronald Hess, 1.0. « Pan! Favorite, M.D. « Charles D. Miller MD. © Matthew M. Mclangitiin, MD.

I Clio Yale, M.D, » Gordon H. Yon, DPM, « James R. Leonand, M.D., * Brent Miller,D.O. © Gentge 7. Shybut, MLD., « K. Premanand Nayak, MD. Eseries
- Ssh Napa, MD, “pi. ‘i Soe MD * ha so, wD. “ge Robrike, MD © Brian K Crelli, 0. # Brian A Rotiinghaus, BLD.

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2. Records regarding this man’s ; examination and treatment at his

primary care office dating between 9-5-14 and 12-5-17. On 9-5-

14 the patient was seen.for medical issues. He was also seen on a

few other occasions before the incident in question, again from a
_medical perspective.

Of importance with respect to the orthopaedic history is that the
patient was seen on 3-16-16 complaining of low back pain. The
diagnosis was made of right sciatica. He was started on
medications for these complaints. |

The patient was seen again on 4-4-16 in follow-up for his back
pain. Again, the diagnosis was made of right sciatica and x-rays
were ordered for the lumbar spine, as well as for physical therapy
and continuation of medications.

The first visit after the accident in question dates 12-5-17. The
diagnosis at this point was chronic back pain greater than three
months. The history was obtained that he had had the onset of
back pain in a persistent pattern for one week.

An examination was performed: The patient was not in any acute
distress. The sensory examination was normal. He had normal
range of motion of the lumbar spine. Again, medications were
prescribed.

3. Records from the orthopaedic surgery office of Dr. Lonnie
Douglas regarding examination and treatment of this man between
2-15-18 and 6-28-18.

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Reference was made to the 11-27-17 reported incident where the
patient sustained right knee pain after a fall. He said that he had
fallen at a retail establishment and felt like his leg had swelled up
afterward. An MRI scan reportedly demonstrated a strain to the
anterior cruciate ligament and a posterior medial meniscus tear.
An examination was done and the patient received a corticosteroid
injection for the diagnosis of, “Right knee pain and a medial
meniscus tear.” |

The patient returned on 3-29-18 and the decision was made to
pursue arthroscopic surgery. Surgery was performed on 4-30-18
and the patient was seen in follow-up on. 5-17-18. He was referred
to physical therapy.

By 6-28-18 it was felt that the patient was doing well, now eight
_weeks status post his arthroscopy. He was recommended to
continue his home exercises and follow up as necessary.

4. The operative report and associated medical records regarding
this man’s surgery of 4-30-18. The pre-operative and post-
operative diagnosis states, “Right knee medial meniscus tear.” The
procedure states, “Right knee arthroscopic partial medial
meniscectomy and abrasion chondroplasty.” In the body of the
report it was noted that the patient had Grade II to Grade III
chondromalacia throughout the knee and a complex medial
meniscus tear. The ACL and PCL were evaluated and found to be
intact.

5. Records from PMC regarding visits with several caregivers at
this facility for pain management dating between 12-20-17 and

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1-19-18, The patient was complaining of mid-back pain, low back
pain, right leg pain, and sleep disturbance, The history was
obtained regarding the 11-27-17 slip and fall event.

A physical examination was done on 12-20-17. It was noted on
the lower extremity examination that the patient’s knees were non-
tender and were stable with anterior and posterior Drawer, as well
as Varus testing. The straight leg ‘raise test was negative
bilaterally. Sensation, strength, and reflexes were all noted to be
normal, The patient was placed on medications. He was then seen
on several subsequent! occasions in the. ensuing several weeks with
repeated documentation of normal knee examinations, normal
strength, normal sensation, and formal reflexes. The first
reference to any sort of right knee pain came on 12-26- 17,

6. Medical records from the. office of Dr. Abdullah regarding
treatment dating between 12-3-19 and 1-10-20. ‘The patient was
seen essentially for medical i issues, ‘Reference was made to his
previous knee surgery and that he was on disability for back pain.

7. The letter from the office of Dr. Brett Cascio to Mr. John Bruce.
This is a non-dated letter: Dr.-Cascio ‘outlines his opinion that this
man’s knee surgery was related to the subject event of 11-27-17.
He also felt that he had sustained a low back injury, necessitating
treatment. : Ho oo

8. The office notation from the. orthopaedic surgery office of Dr.
Chalily dated 1-7-20. The patient was seen with respect to his
right knee. Symptoms had reportedly been present for about a

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year. It was felt that he had arthritis of the knee and received a
corticosteroid injection.

9, The knee x-ray report dated 2-15-18 reports, “No plane film
abnormalities appreciated to clearly account for the reported pain.”

10. The right knee MRI scan report from MRI Louisville dated
12-22-17 reports, “1. Anterior cruciate ligament strain. 2. Oblique

tear posterior horn medial meniscus extends to inferior articular
surface.” :

11. The MRI scan report of vEthe lumbar spine from MRI Louisville
dated 1-26-18 reports, “1. Non-specific straightening normal
lumbar lordosis consistent with strain in the appropriate clinical
circumstance versus secondary to compressive discopathy L3-S1.
Recommend clinical correlation. 2. L3-4: 7-8mm broad-based
posterior disc protrusion effaces the ventral surface of the thecal
sac resulting in moderate to severe right and moderate left neural
foraminal encroachment and bilateral exiting L3 nerveroot
impingement in conjunction with facet arthrosis, Moderate canal
stenosis is seen. 3. L3-4: 7-8mm broad- based posterior disc
protrusion with focal disc extrusion traveling 12.7mm to a cranial
direction effaces the ventral surface of the thecal sac resulting in
moderate to severe right and left neural foramirial encroachment
and bilateral exiting L4 nerve root impingement in conjunction
with facet arthrosis. Mild canal stenosis is seen. 4. L5-S1:
11-12mm right paracentral posterior disc protrusion effaces the
right lateral recess and ventral surface of the thecal sac resulting in

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moderate to severe bilateral neural foraminal encroachment and
bilateral exiting L5 nerve impingement.”

12. Physical therapy records regarding physical therapy treatments
this man received at University Medical Center University of
Louisville dated 5-23-18 through 6-8-18.

13. The deposition of Larry. Woods-taken 11-13-19 which outlines
this man’s personal history, job history, and education. He then

_ goes on to describe the incident in question and his understanding
of subsequent treatment thereafter. |

14. Thad the opportunity to personally review the x-rays of the
right knee obtained from the University of Louisville dated
2-15-18. The patient demonstrated somie early degenerative
changes consistent with his age, but no other significant findings
and no acute findings are noted. |

15. I personally reviewed a cD of the lumbar spine from MRI
Louisville dated 1-26-18. This study demonstrates multi-level,
degenerative disc disease from essentially L3 through $1. At each
of these levels the patient has significant disc protrusion,
degenerative sclerosis of the endplates, and neural foraminal
compromise. This is particularly true at the L4-L5 level, These
are essentially bilateral findings, but generally speaking more
severe on the right than on the lett.

In review of the aforementioned medical records and the Guest
Incident Report, it would appear that the patient.claimed an injury
on 11-27-17 and then went back to the store to report it three days

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later, on 11-30-17. He described slipping on a freshness packet
from a box. It should be noted that there is no record that I saw
regarding any sort of evaluation or treatment of this patient
between 11-27-17 and his visit with his primary care physician
approximately eight days later. The primary care physician
actually describes this as chronic back pain of greater than three
months duration.. This, of course, is due to the fact that the patient
had established pre-existent low back complaints dating back to
2016 which required evaluation and treatment. He had the
diagnosis of right sciatica made again in 2016. It would appear
from this record that he did potentially sustain a temporary
aggravation of his chronic low back pain due to the event in
question. However, it does also need to be realized that there is no
indication of any sort of acute disc herniation or abnormality. |
would specifically reference the fact that the patient had a normal
sensory examination and normal range of motion of the lumbar
spine. He did describe pain with range of motion which would be |
at most a mild muscular strain superimposed upon his multi-level
degenerative disc disease. Therefore, the absolute most injury that
this man sustained to his low back would have been a mild lumbar
strain superimposed upon a history of degenerative disc disease
and right sciatica. oe

It is also important to realize that the patient was seen at a pain
management office on several occasions between 1-20-17 and
1-19-18. What is important in these records is that the patient did
not demonstrate at any point.in time any sort of acute new

— radicular abnormality. I would specifically reference several

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statements made regarding negative straight leg raise
examinations, normal sensation, normal deep tendon reflexes, and
normal strength. This is important because the patient does have
many levels of degenerative change involving the lumbar spine. If
the patient had sustained a new significant injury to the lumbar
spine, he would have had radicular type symptoms. In other
words, the findings that were noted on the MRI scan of 1-26-18
were all chronic in nature. If they had been acute, the patient
would have had clinical symptoms of some sort of nerve root
compromise which again was not present.

Obviously, Mr. Woods had a history of low back pain that required
treatment long before the incident in question. The incident in
question temporarily aggravated the problem and would have
potentially caused treatment being necessary for a window of time
between one and three months. He then would have returned to his
pre-Injury baseline of multi-level degenerative disc disease with no
specific finding relatable to the event of 11-27-17.

The other issue involving Mr. Woods, of course, is the right knee.
Obviously, Mr. Woods did not seek any medical treatment for his
right knee soon after the incident i in question. Obviously, this man
was seen by his primary care physician on 12-5-17 and there is no
‘reference made whatsoever regarding any sort of knee issue. In
fact, he had a normal gait and station being that he had no
ambulatory abnormality. It is completely outside of the realm of
medical probability that this man would have sustained an acute
medial meniscus tear necessitating surgery, but yet have a normal

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gait pattern and no clinical findings a week after the event in
question. | :

The patient: was seen 0 1220-1 “17 at the pain management office.
At that point in time tht knees were non-tender and stable. No
diagnosis was made regard fre any sort of knee issue. The patient
was seen again on 12-22-17. The knees were noted to be non-
tender and stable. No diagnosis was made regarding any sort of
knee injury. The first comment. in these records that states _
anything about right knee pain was 12-26-17. Obviously, it is
completely and totally out of the realm of medical probability that
this man would have sustained a surgical i injury to his right knee,
but yet voice no symptoms to arty medical ¢ caregiver until one

month later.

The patient obviously had an MRI scan performed. of the right
knee. It needs to be realized that the configuration of the meniscus
pathology is what is known as a complex tear as noted in the
operative report. What this means is that the tear is in more than
one plane. Complex tears are typically degenerative in nature and
not acute. The fact that the patient did not sustain a complex tear
to the medial meniscus at the time of the accident in question
explains why he did not voice any symptoms to. the knee for a
month,

T am not questioning the segs of a medial meniscus pathology.
It just simply needs to be realized that the tear is of a degenerative
configuration andthe. arthroscopy performed to treat the tear was

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not directly related to the subject accident. If it was, the
chronology of the medical records. would have been different.

In summary, Larry Woods, from a historical perspective, was
involved in a reported slip and fall event on 12-27-17. He then
apparently went back to the store and reported the event three days
later, He went to see his primary care physician about a week after
the event in question and he was diagnosed with a chronic low
back issue. Certainly, it is reasonable to believe that the patient
sustained a mild low back strain superimposed upon his previous
documented low back issues and diagnosis of right sciatica. He
has completely recovered from the low back strain of 11-27-17 and
_ is left with no permanent sequela. Mr. Woods does have an
arthritic back and it would not surprise tne if he has chronic back
pain, but it is not related to the muscular injury of 11-27-17. The
medical récords are not consistent with Mr. Woods having
sustained any acute injury to his right knee with respect to a medial
meniscus tear. Medial meniscus tears are instantaneously
symptomatic and it is completely outside of the realm of medical
probability that he would not have voiced any symptoms involving
the right knee until a month after the reported injury. All treatment
_ involving the knee is unrelated to the accident in question for all
the reasons outlined above. Mr. Woods is completely recovered
from the event in question and is left with no permanent sequela.

Obviously, Mr. Woods i is trying to relate his low back and knee
issues to the 11-27-17 reported injury, but this is not substantiated
by the medical records.

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All professional opinions reflected within this medical records
review report are within a reasonable degree of medical
probability.

If additional medical records become available to me regarding
this individual I will update my findings. .

Should you have any questions regarding this medical record
review please feel free to contact me.

Sincerely,

Arthur F, Lee, Mb.

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